IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 03-0972
                              ((((((((((((((((

                             Annette S. Muecke,

                                     v.

    BEST PAWN &amp; JEWELRY, INC., WAYNE SPRUILL, PETER TORRES, JR. &amp; THE LAW
                      OFFICE OF PETER TORRES, JR. P.C.

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                     On Petition for Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((


                                    ORDER

      1.    Pursuant to the notice of bankruptcy of Annette S. Muecke, filed
with this Court on March 24, 2004, this case is ABATED.   Tex.  R.  App.  P.
8.2.
      2.    This case is removed from the Court's active docket and shall be
treated as closed, subject to reinstatement upon  proper  motion.   Tex.  R.
App. P. 8.3.  All motions and other documents pending or  filed  are  abated
subject to being reargued in the event the case is reinstated. Tex. R.  App.
P. 8.2 and 8.3.  It is the parties'  responsibility  to  immediately  notify
this Court once the automatic bankruptcy stay is lifted.
      Done at the City of Austin, this 25th day of March 2004.


                                       [pic]
                                       Andrew Weber, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




